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7KLVGRFXPHQWUHODWHVWRBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                          Ashton et al v. al Qaeda Islamic Army, et al.

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XQGHUO\LQJ&RPSODLQWLVGHHPHGDPHQGHGWRDGGWKHLQGLYLGXDO V OLVWHGEHORZ WKH³1HZ

3ODLQWLII V ´ DVSODLQWLII V UDLVLQJFODLPVDJDLQVWWKH5HSXEOLFRIWKH6XGDQ7KHXQGHUO\LQJ

&RPSODLQWLVGHHPHGDPHQGHGWRLQFOXGHWKHIDFWXDODOOHJDWLRQVMXULVGLFWLRQDODOOHJDWLRQVDQG

MXU\WULDOGHPDQGDVLQGLFDWHGEHORZRI D WKH&RQVROLGDWHG$PHQGHG&RPSODLQWDVWRWKH

5HSXEOLFRIWKH6XGDQ ³6&$&´ (&)1RRU E WKH $VKWRQ $PHQGHG&RPSODLQWDVWR

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FDXVHVRIDFWLRQVSHFLILHGEHORZ7KHDPHQGPHQWHIIHFWHGWKURXJKWKLV1RWLFHRI$PHQGPHQW

VXSSOHPHQWVE\LQFRUSRUDWLRQLQWREXWGRHVQRWGLVSODFHWKHXQGHUO\LQJ&RPSODLQW7KLV1RWLFH

RI$PHQGPHQWUHODWHVVROHO\WRWKH5HSXEOLFRIWKH6XGDQDQGGRHVQRWDSSO\WRDQ\RWKHU

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        8SRQILOLQJWKLV6XGDQ1RWLFHRI$PHQGPHQWHDFK1HZ3ODLQWLIILVGHHPHGWRKDYH

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       Case 1:02-cv-06977-GBD-SN Document 1802 Filed 10/23/22 Page 2 of 7




VSHFLILHGEHORZDOOSULRUILOLQJVLQFRQQHFWLRQZLWKWKDWFRPSODLQWDQGDOOSULRU2UGHUVDQG

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         (DFK1HZ3ODLQWLIIKHUHE\DGRSWVDQGLQFRUSRUDWHVKHUHLQE\UHIHUHQFHWKHIROORZLQJ

IDFWXDODOOHJDWLRQVMXULVGLFWLRQDODOOHJDWLRQVDQGMXU\WULDOGHPDQGLQWKHIROORZLQJFRPSODLQW

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         ‫܆‬   &RQVROLGDWHG$PHQGHG&RPSODLQWDVWRWKH5HSXEOLFRIWKH6XGDQ
         ³6&$&´ (&)1R FKHFNDOOFDXVHVRIDFWLRQWKDWDSSO\ 
                  ‫܆‬         &2817,±&ODLPVXQGHU6HFWLRQ$ F RIWKH)RUHLJQ6RYHUHLJQ
                            ,PPXQLWLHV$FW86&$ F RQEHKDOIRIDOO3ODLQWLIIVJUDQWHGD
                            SULYDWHULJKWRIDFWLRQXQGHU86&$

                  տ         &2817,,±&ODLPVXQGHU6HFWLRQ$ G RIWKH)RUHLJQ6RYHUHLJQ
                            ,PPXQLWLHV$FW86&$ G RQEHKDOIRIDOO3ODLQWLIIVJUDQWHG
                            DSULYDWHULJKWRIDFWLRQXQGHU86&$

                  տ         &2817,,,±$LGLQJDQG$EHWWLQJDQG&RQVSLULQJZLWK$O4DHGDWR
                            FRPPLWWKH6HSWHPEHUWK$WWDFNVXSRQWKH8QLWHG6WDWHVLQ9LRODWLRQRI
                            86& G  -$67$ RQEHKDOIRIDOO³861DWLRQDO´3ODLQWLIIV

                  տ         &2817,9±$LGLQJDQG$EHWWLQJDQG&RQVSLULQJZLWK$O4DHGDWR
                            FRPPLWWKH6HSWHPEHUWK$WWDFNVXSRQWKH8QLWHG6WDWHVLQ9LRODWLRQRI
                            86& D RQEHKDOIRIDOO³861DWLRQDO´3ODLQWLIIV

                  տ         &28179±&RPPLWWLQJDFWVRILQWHUQDWLRQDOWHUURULVPLQYLRODWLRQRI
                            86&RQEHKDOIRIDOO³861DWLRQDO´3ODLQWLIIV

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 6HFWLRQ$RIWKH)RUHLJQ6RYHUHLJQ,PPXQLWLHV$FWJUDQWVDULJKWRIDFWLRQWR  QDWLRQDOVRIWKH8QLWHG
6WDWHV  PHPEHUVRIWKHDUPHGIRUFHV  HPSOR\HHVRIWKH86JRYHUQPHQW LQFOXGLQJLQGLYLGXDOVSHUIRUPLQJD
FRQWUDFWDZDUGHGE\WKH86*RYHUQPHQW DFWLQJZLWKLQWKHVFRSHRIHPSOR\PHQWDQGOHJDOUHSUHVHQWDWLYHVRI
SHUVRQVGHVFULEHGLQ    RU  
2
6HHSUHFHGLQJIRRWQRWH
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 7KHFDXVHVRIDFWLRQSXUVXDQWWRWKH$7$86&HWVHTDUHDVVHUWHGRQEHKDOIRISODLQWLIIVZKRDUH
86QDWLRQDOVHVWDWHVKHLUVDQGVXUYLYRUVRI86QDWLRQDOV86QDWLRQDOVZKRDUHPHPEHUVRIDSXWDWLYHFODVV
UHSUHVHQWHGE\VXFKSODLQWLIIVSODLQWLIIVZKRDUHVXEURJDWHGWRWKHULJKWVRI86QDWLRQDOVZKRLQFXUUHGSK\VLFDO
LQMXULHVWRSURSHUW\DQGUHODWHGORVVHVDVDUHVXOWRIWKH6HSWHPEHUWKDWWDFNVDQGSODLQWLIIVZKRDUHDVVLJQHHVRI
86QDWLRQDOVNLOOHGRULQMXUHGLQWKH6HSWHPEHUWKDWWDFNV7KHWHUP³861DWLRQDO3ODLQWLIIV´LQWKHFRQWH[W
FODLPVXQGHU-$67$RUWKH$7$UHIHUVWRDOOVXFKSDUWLHV
4
6HHSUHFHGLQJIRRWQRWH
       Case 1:02-cv-06977-GBD-SN Document 1802 Filed 10/23/22 Page 3 of 7




                  տ        &28179,±:URQJIXO'HDWKRQEHKDOIRIDOOSODLQWLIIVEULQJLQJ
                           :URQJIXO'HDWKFODLPV

                  տ        &28179,,±1HJOLJHQFHRQEHKDOIRIDOOSODLQWLIIV

                  տ        &28179,,,±6XUYLYDORQEHKDOIRIDOOSODLQWLIIVEULQJLQJZURQJIXO
                           GHDWKFODLPV

                  տ        &2817,;±$OLHQ7RUW&ODLPV$FWRQEHKDOIRIDOO$OLHQ1DWLRQDO
                           3ODLQWLIIV

                  տ        &2817;±$VVDXOWDQG%DWWHU\RQEHKDOIRIDOOSODLQWLIIVEULQJLQJ
                           ZURQJIXOGHDWKDQGSHUVRQDOLQMXU\FODLPV

                  տ        &2817;,±&RQVSLUDF\RQEHKDOIRIDOOSODLQWLIIV

                  տ        &2817;,,±$LGLQJDQG$EHWWLQJRQEHKDOIRIDOOSODLQWLIIV

                  տ        &2817;,,,±1HJOLJHQWDQGRULQWHQWLRQDOLQIOLFWLRQRIHPRWLRQDO
                           GLVWUHVVRQEHKDOIRIDOOSODLQWLIIV

                  տ        &2817;,9±/LDELOLW\SXUVXDQWWR5HVWDWHPHQW 6(&21' RI7RUWV
                           DQG5HVWDWHPHQW 7+,5' RI$JHQF\6XSHUYLVLQJ(PSOR\HHV
                           DQG$JHQWVRQEHKDOIRIDOOSODLQWLIIV

                  տ        &2817;9±/LDELOLW\SXUVXDQWWR5HVWDWHPHQW 6(&21' RI7RUWV
                           DQG5HVWDWHPHQW 7+,5' RI$JHQF\+LULQJ6HOHFWLQJDQG
                           5HWDLQLQJ(PSOR\HHVDQG$JHQWVRQ%HKDOIRIDOOSODLQWLIIV

                  տ        &2817;9,±86& D  G ±&LYLO5,&2RQEHKDOIRIDOO
                           SODLQWLIIV

                  տ        &2817;9,,±7UHVSDVVRQEHKDOIRIDOOSODLQWLIIVDVVHUWLQJFODLPVIRU
                           SURSHUW\GDPDJHDQGHFRQRPLFLQMXULHV

                  տ        &2817;9,,,±9LRODWLRQVRILQWHUQDWLRQDOODZRQEHKDOIRIDOOSODLQWLIIV

         ‫܆‬      $VKWRQ6XGDQ$PHQGHG&RPSODLQW (&)1R FKHFNDOOFDXVHVRIDFWLRQ
         WKDWDSSO\ 



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 7KHFDXVHVRIDFWLRQSXUVXDQWWRWKH$OLHQ7RUW&ODLPV$FW $7&$ 86&DUHDVVHUWHGRQEHKDOIRI
SODLQWLIIVZKRDUHDOLHQQDWLRQDOVHVWDWHVKHLUVDQGVXUYLYRUVRIDOLHQQDWLRQDOVZKRDUHQRWWKHPVHOYHV86
QDWLRQDOVDOLHQQDWLRQDOVZKRDUHPHPEHUVRIDSXWDWLYHFODVVUHSUHVHQWHGE\VXFKSODLQWLIIVVXEURJDWHGWRWKHULJKWV
RIDOLHQQDWLRQDOVZKRLQFXUUHGLQMXULHVWRSURSHUW\DQGUHODWHGORVVHVDVDUHVXOWRIWKH6HSWHPEHUWKDWWDFNVDQG
DVVLJQHHVRIDOLHQQDWLRQDOVNLOOHGRULQMXUHGLQWKH6HSWHPEHUWKDWWDFNV
Case 1:02-cv-06977-GBD-SN Document 1802 Filed 10/23/22 Page 4 of 7




      տ     )LUVW&DXVHRI$FWLRQWR5HFRYHU3HUVRQDO,QMXU\DQG:URQJIXO'HDWK
            'DPDJHV3XUVXDQWWR6HFWLRQ$RIWKH)RUHLJQ6RYHUHLJQ,PPXQLWLHV
            $FW86&$

      տ     6HFRQG&DXVHRI$FWLRQWR5HFRYHU3HUVRQDO,QMXU\DQG:URQJIXO'HDWK
            'DPDJHV3XUVXDQWWR6HFWLRQ%RIWKH)RUHLJQ6RYHUHLJQ,PPXQLWLHV
            $FW86&% -$67$ DQGWKH$QWL7HUURULVP$FWV

      տ     7KLUG&DXVHRI$FWLRQIRU3HUVRQDO,QMXU\DQG:URQJIXO'HDWK,QMXULHV
            3XUVXDQWWR6WDWH7RUW/DZ

      տ     )RXUWK&DXVHRI$FWLRQIRU3HUVRQDO,QMXU\DQG:URQJIXO'HDWK'DPDJHV
            3XUVXDQWWRWKH$OLHQWRUW&ODLPV$FW

      տ     )LIWK&DXVHRI$FWLRQIRU3XQLWLYH'DPDJHV

      տ     6L[WK&DXVHRI$FWLRQIRU3URSHUW\'DPDJH
         Case 1:02-cv-06977-GBD-SN Document 1802 Filed 10/23/22 Page 5 of 7

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                                IDENTIFICATION OF NEW PLAINTIFFS

Each New Plaintiff is or was a survivor of a person who died due to the terrorist attacks of

September 11, 2001. For each New Plaintiff, the following chart lists the New Plaintiff’s name,

the New Plaintiff’s residency and nationality, the name of the New Plaintiff’s deceased family

member, the New Plaintiff’s relationship to the decedent, and the paragraph(s) of the underlying

Complaint discussing the decedent and/or the decedent’s estate.



        Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's   New Plaintiff’s   Paragraphs
        (alphabetical by   State of      Plaintiff’s     Name              Relationship to   of
        last name)         Residency     Citizenship/N                     9/11 Decedent     Complaint
                           at filing     ationality on                                       Discussing
                           (or death)    9/11/2001                                           9/11
                                                                                             Decedent
        Abad,              NY            USA             Abad, Edelmiro    Parent
    1   Ascension                                                                              N/A

    2   Abad, Jennifer NY                USA             Abad, Edelmiro    Child               N/A
        Abad,              NY            USA             Abad, Edelmiro    Spouse
    3   Lorraine                                                                               N/A

        Abad,              NY            USA             Abad, Edelmiro    Child
    4   Rebecca                                                                                N/A

    5   Abad, Serena       NY            USA             Abad, Edelmiro    Child               N/A
        Adams,             GA            USA             Adams, Shannon    Sibling             N/A
    6   Michael
        Adams-Floyd,       FL            USA             Adams, Shannon    Sibling             N/A
    7   Kylie
        Adderley,          MI            USA             Adderley, Jr.,    Parent              N/A
    8   Mary                                             Terence
        Agnes,             NY            USA             Agnes, David      Parent              N/A
    9   Carmen
   Ahladiotis,             NY            USA             Ahladiotis,       Parent              N/A
10 Miltiadis                                             Joanne




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      Case 1:02-cv-06977-GBD-SN Document 1802 Filed 10/23/22 Page 6 of 7

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     Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's    New Plaintiff’s   Paragraphs
     (alphabetical by   State of      Plaintiff’s     Name               Relationship to   of
     last name)         Residency     Citizenship/N                      9/11 Decedent     Complaint
                        at filing     ationality on                                        Discussing
                        (or death)    9/11/2001                                            9/11
                                                                                           Decedent
   Ahladiotis-    NY                  USA             Ahladiotis,        Sibling             N/A
11 Salloum, Effie                                     Joanne

12 Aiken, Andre         NY            USA             Aiken, Terrance    Child               N/A

   Aiken,               NY            USA             Aiken, Terrance    Sibling             N/A
13 Cassandra

14 Aiken, Kanian NY                   USA             Aiken, Terrance    Child               N/A

     Aiken,             SC            USA             Aiken, Terrance    Sibling             N/A
     Michael
15


   Aiken-               NY            USA             Aiken, Terrance    Sibling             N/A
16 Dorismond,
   Kecia
   Alger Geffen,        DC            USA             Alger, David       Child               N/A
17 Roxana

   Amato,               NY            USA             Ashton, Thomas     Sibling             N/A
18 Colleen

   Amigron,             NY            USA             Carroll, Michael   Sibling             N/A
19 Nancy

   Ammirati,            NY            USA             Wall, Glen         Sibling             N/A
20 Diane

   Andrucki,            NY            USA             Andrucki, Jean     Parent              N/A
21 Mary

   Andrucki             NY            USA             Andrucki, Jean     Sibling             N/A
22 Izzo, Laura

   Angelini,            NY            USA             Angelini, Sr.,     Child               N/A
23 Annmarie                                           Joseph
   Angelini,            MD            USA             Angelini, Sr.,     Child               N/A
24 Mary                                               Joseph




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     Case 1:02-cv-06977-GBD-SN Document 1802 Filed 10/23/22 Page 7 of 7

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    Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's    New Plaintiff’s   Paragraphs
    (alphabetical by   State of      Plaintiff’s     Name               Relationship to   of
    last name)         Residency     Citizenship/N                      9/11 Decedent     Complaint
                       at filing     ationality on                                        Discussing
                       (or death)    9/11/2001                                            9/11
                                                                                          Decedent
   Angelini,           NY            USA             Angelini, Sr.,     Child               N/A
25 Michael                                           Joseph




Dated: October 23, 2022




                                                         Respectfully submitted,

                                                         KREINDLER & KREINDLER LLP

                                                         BY: /s/ James P. Kreindler
                                                         James P. Kreindler, Esq.
                                                         Andrew J. Maloney III, Esq.
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                                                         New York, New York 10017
                                                         Tel: (212) 687-8181
                                                         COUNSEL FOR PLAINTIFFS
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